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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                 8:05CR163
                vs.                               )
                                                  )                     ORDER
DANIEL CERNA,                                     )
                                                  )
                         Defendant.               )

        Defendant Daniel Cerna (Cerna) appeared before the court on June 15, 2012, on the Amended
Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 355). Cerna was
represented by Assistant Federal Public Defender Julie B. Hansen and the United States was represented
by Assistant U.S. Attorney Thomas J. Kangior. Through his counsel, Cerna waived his right to a probable
cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition alleges
probable cause and that Cerna should be held to answer for a final dispositional hearing before Chief
Judge Laurie Smith Camp.
        The government moved for detention. Cerna requested a hearing which was held immediately.
Cerna proffered through counsel he would abide by the conditions of release, obtain employment, obtain
a substance abuse evaluation, and care for his children. Since it is Cerna’s burden under 18 U.S.C. §
3143 to establish by clear and convincing evidence that he is neither a flight risk nor a danger to the
community, the court finds Cerna has failed to carry his burden and that Cerna should be detained
pending a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 9:00 a.m. on July 5, 2012. Defendant must be present in person.
        2.      Defendant Daniel Cerna is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 15th day of June, 2012.

                                                           BY THE COURT:
                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
